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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


In re
                                                                            Chapter 11
NEW CENTURY TRS HOLDINGS, INC.,                                             Case No. 07-10416-KJC
et al.,
                                                                            Objections due by: January 30, 2008 at 4:00 P.M.
                                                                            Hearing Date: February 6, 2008 at 1:30 P.M.
                                   Debtors.


                        NOTICE OF MOTION OF
      DEUTSCHE BANK TRUST COMPANY AMERICAS FORMERLY KNOWN
    AS BANKER’S TRUST COMPANY, AS TRUSTEE AND CUSTODIAN FOR IXIS
   FOR RELIEF FROM STAY UNDER SECTION 362 OF THE BANKRUPTCY CODE

TO:        Parties listed on the Certificate of Service.

         Deutsche Bank Trust Company Americas formerly known as Banker’s Trust Company,
as Trustee and Custodian for IXIS has filed a Motion for Relief from Stay which seeks the
following relief: Relief from the automatic stay to exercise its non-bankruptcy rights with respect
to certain real property in which the above-captioned debtor may hold an interest. A complete
list of the real property to which the motion relates is attached to the motion as Exhibit A.
HEARING ON THE MOTION WILL BE HELD ON FEBRUARY 6, 2008 AT 1:30 P.M.

        You are required to file a response (and the supporting documentation required by Local
Rule 4001-1(d)) to the attached motion at lease five business days before the above hearing date.
At the same time, you must also serve a copy of the response upon movant’s attorneys:

 James E. Clarke, Esquire                             Thomas D.H. Barnett, Esquire              Adam Hiller, Esquire
 Draper & Goldberg, PLLC                              Draper & Goldberg, PLLC                   Draper & Goldberg, PLLC
 803 Sycolin Road, Suite 301                          P.O. Box 947                              1500 North French Street
 Leesburg, VA 20175                                   512 East Market Street                    2nd Floor
                                                      Georgetown, DE 19947                      Wilmington, DE 19801
                                                                                                (302) 339-8776 telephone

       The hearing date specified above may be a preliminary hearing or may be consolidated
with the final hearing, as determined by the Court.

        The attorneys for the parties shall confer with respect to the issues raised by the motion in
advance for the purpose of determining whether a consent judgment may be entered and/or for
the purpose of stipulating to relevant facts such as value of the property, and the extent and
validity of any security instrument.



Movant: Deutsche Bank Trust Company Americas formerly known as Banker's Trust Company,
   as Trustee and Custodian for IXIS
D&G Reference: 211482/Batch 32
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    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE RELIEF REQUESTING IN THE MOTION MAY BE GRANTED BY THE
COURT WITHOUT FURTHER NOTICE OR HEARING.
Dated: January 9, 2008              Respectfully submitted,
       Wilmington, Delaware
                                    DRAPER & GOLDBERG, PLLC


                                     /s/ Adam Hiller
                                    Adam Hiller (DE No. 4105)
                                    1500 North French Street, 2nd Floor
                                    Wilmington, Delaware 19801
                                    (302) 339-8776 telephone
                                    (302) 213-0043 facsimile

                                    and

                                    James E. Clarke, Esquire
                                    Draper & Goldberg, PLLC
                                    803 Sycolin Road, Suite 301
                                    Leesburg, VA 20175

                                    and

                                    Thomas D.H. Barnett (DE No. 994)
                                    Draper & Goldberg, PLLC
                                    P.O. Box 947
                                    512 East Market Street
                                    Georgetown, Delaware 19947

                                    Attorneys for Movant




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